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8                            UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
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                                               Case No. 2:21-CV-07165-AB (MAAx)
12    ANIETIE ATTAH, an individual,
13
                      Plaintiff,
                                               ORDER DISMISSING CIVIL
14                                             ACTION AND VACATING
      v.                                       UPCOMING DATES AND
15                                             DEADLINES
16
17    HERTZ LOCAL EDITION CORP., a
      corporation; and DOES 1 through 20,
18    inclusive,
19                    Defendant.
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           THE COURT having been advised by counsel that the above-entitled action has
22
     been settled;
23
           IT IS THEREFORE ORDERED that this action is hereby dismissed without
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     costs and without prejudice to the right, upon good cause shown within sixty (60)
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     days, to re-open the action if settlement is not consummated.
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                                              1.
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1    This Court retains full jurisdiction over this action and this Order shall not prejudice
2    any party to this action. All upcoming dates and deadlines, including but not limited
3    to the Scheduling Conference scheduled for December 10, 2021, are VACATED.
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5
     Dated: November 29, 2021         _______________________________________
6                                     HONORABLE ANDRÉ BIROTTE JR.
7                                     UNITED STATES DISTRICT JUDGE

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